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                                               UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF NORTH CAROLINA
                                                     WILMINGTON DIVISION


Fill in this information to identify your case:
Fill in this information to identify your case:
                                                                                                           Check if this is an amended
                          Charlie Jacob Sammis                                                             plan and list below the
       Debtor 1: ___________________________________________________________                               sections of the plan that have
                            First Name            Middle Name               Last Name                      changed.
       Debtor 2:___________________________________________________________
    (Spouse, if filing)    First Name             Middle Name               Last Name

Case Number:
   (if known)



                                                                CHAPTER 13 PLAN

Part 1:                                 Notices

      To Debtors:           This form sets out options that may be appropriate in some cases, but the presence of an option on this
                            form does not indicate that the option is appropriate in your circumstances. Plans that do not comply with
                            Local Rules and judicial rulings may not be confirmable. You must check each box that applies in §§
                            1.1, 1.2, 1.3, and 1.4, below.
           A limit on the amount of a secured claim, including avoidance of mortgage
           liens, set out in Sections 3.1 or 3.3, which may result in a secured claim
1.1        being treated as only partially secured or wholly unsecured. This could                      Included         ■    Not included
           result in the secured creditor receiving only partial payment, or no
           payment at all.

1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security                    Included         ■    Not included
           interest, set out in Section 3.5.
1.3                                                                                                     Included         ■    Not included
           Nonstandard provisions, set out in Part 9.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated if the
              plan is confirmed. You should read this plan carefully and discuss it with your attorney if you have an
              attorney in this bankruptcy case. If you do not have an attorney, you may wish to consult one. Neither the
              staff of the Bankruptcy Court nor the Chapter 13 Trustee can give you legal advice.
              The following matters may be of particular importance to you. Debtors must check one box on each line
              of §§ 1.1, 1.2, and 1.3, above, to state whether or not the plan includes provisions related to each item
              listed. If an item is checked “Not Included,” or if neither box is checked or both boxes are checked, the
              provision will not be effective, even if set out later in the plan.
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To Creditors: (continued)
               Proof of Claim: A creditor's claim will not be paid or allowed unless a proof of claim is timely filed by, or
               on behalf of, the creditor. Only allowed claims will receive a distribution from the Trustee. Confirmation of
               a plan does not preclude the Debtor, Trustee, or a party in interest from filing an objection to a claim. See
               generally, 11 U.S.C. §§ 501 and 502, and Bankruptcy Rules 3001, 3002, and 3002.1.

                    Pre-Confirmation Adequate Protection Payments: Pre-confirmation adequate protection payments
                    required by 11 U.S.C. § 1326(a)(1) and Local Rule 3070-1(b) shall be disbursed by the Trustee in
                    accordance with the Trustee's customary distribution process. A creditor will not receive pre-confirmation
                    adequate protection payments unless and until a timely, properly documented proof of claim is filed with
                    the Bankruptcy Court.

  1.4     Information about the Debtor: Income and Applicable Commitment Period. (Check one.)
          The “current monthly income” of the Debtor, calculated pursuant to 11 U.S.C. § 101(10A) and then multiplied by
          12, is:
                  ABOVE the applicable state median income; the Debtor's applicable commitment period is 60 months.
              ■   BELOW the applicable state median income; the Debtor's applicable commitment period is 36 months.

 1.5    Projected Disposable Income and “Liquidation Test."

        The projected disposable income of the Debtor, as referred to in 11 U.S.C. § 1325(b)(1)(B), is $            0.00       per month.
        The amount referred to in 11 U.S.C. § 1325(a)(4) that would be paid to holders of allowed unsecured claims if the estate of
        the Debtor were liquidated in a chapter 7 bankruptcy case (known as the “liquidation test”) is estimated by the Debtor to be
        $ 0.00        . The “liquidation test” has been computed as indicated in E.D.N.C. Local Form 113B, Liquidation
        Worksheet & Plan Summary filed simultaneously with this plan.

 1.6 Definitions: See attached Appendix.

Part 2:                 Plan Payments and Length of Plan

 2.1 The Debtor shall make regular payments to the Trustee as follows:

            $2,150.00           per month for 60   month(s) [followed by                     per month for           month(s)]
 (Insert additional line(s), if needed.)

 2.2 Regular payments to the Trustee will be made from future income in the following manner:
     (Check all that apply.)
                   Debtor will make payments pursuant to a payroll deduction order.
              ■    Debtor will make payments directly to the Trustee.

 2.3 Additional payments. (Check one.)
              ■   None. If “None” is checked, the rest of § 2.3 need not be completed or reproduced.

 2.4 The total amount of estimated payments to the Trustee is $ 129,600.00                              .

Part 3:                 Treatment of Secured Claims

3.1 Residential Mortgage Claim(s) - When Residence to be Retained (Surrender addressed in § 3.6).
    (Check one.)

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            None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
   Note: Avoidance of mortgage liens may not be accomplished in this district in the absence of the filing and proper
   service of a motion and notice of motion specifically seeking such relief and giving the affected creditor the
   opportunity to object and request a hearing.
        ■   The Debtor proposes the following treatment of mortgage claims secured by the Debtor's principal residence:
                                                                                                                                                      Other
                                                                                               =                                                      Terms
                                    Direct Amt./    Conduit Amt./                 +                                                            Avoid (Y/N)
   Creditor Name                                                  Arrears Owed                 Tot. Arrears to                Cure $/Mo
                                    Mo              Mo                            Adm. Arrears                                                 (Y/N) (if Y, see
                                                                                               Cure*
                                                                                                                                                             Other,
                                                                                                                                                             below)
   First Mortgage Company,
                                                     $1,176.61    $27,000.00      $0.00               $27,000.00              $450.00         No        No
   LLC
     Insert additional claims, as needed.
     Other. (Check all that apply, and explain.) The Debtor:
                  (a) does intend to seek a mortgage modification with respect to the following loan(s) listed above:
                                                                                                                                                               ; or
             ■    (b) does not intend to seek mortgage loan modification of any of the mortgage loans listed above; and
                  (c) intends to:


3.2 Secured Claims Other Than Residential Mortgage Claims - To be Paid Directly by Debtor.
     (Check one.)
             ■    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3 “Cram-Down” Claims - Request for Valuation of Collateral and Modification of Undersecured Claims.
      (Check one.)
             ■    None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Secured Claims not Subject to Valuation of Collateral -- Monthly Payment to be Disbursed by Trustee
    (Check one.)

                  None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

            ■     The secured claims listed below are not subject to valuation under 11 U.S.C. § 506(a). These claims
                  include, but are not limited to, claims: (a) incurred within 910 days before the petition date and secured by
                  a purchase money security interest in a motor vehicle acquired for the personal use of the Debtor, or
                  (b) incurred within 1 year of the petition date and secured by a purchase money security interest in any
                  other thing of value; and (c) any other secured claim the Debtor proposes to pay in full. These claims will
                  be paid in full, through the chapter 13 plan disbursements, with interest at the rate stated below. Unless
                  otherwise ordered by the Court, the claim amount stated on a proof of claim filed before the filing deadline
                  under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a
                  contrary timely filed proof of claim, the amounts stated below are controlling.

                                                                                                                                 Est. Mo.         Equal Mo.
                                                    Value of      Amount of                       Current Mo.           Int        Pmt.             Pmt.
    Creditor Name               Collateral                                       AP Payment                                    Disbursed by
                                                    Collateral     Claim                           Payment             (%)
                                                                                                                                 Trustee
Flagship Credit
                           2009 Mercedes           $12,200.00    $16,140.00                                           6.75     $317.69
Acceptance
     Insert additional claims, as needed.



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3.5 Avoidance of Judicial Liens or Nonpossessory, Nonpurchase-Money Security Interests.
    (Check one.)

           ■   None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6 Surrender of Collateral. (Check one.)

           ■   None. If “None” is checked, the rest of § 3.6 need not be completed or reproduced.

Part 4:            Treatment of Fees and Priority Claims
4.1 General Treatment: Unless otherwise indicated in Part 9, Nonstandard Plan Provisions, Trustee's commissions and
    all allowed priority claims, including arrearage claims on domestic support obligations, will be paid in full without
    interest through Trustee disbursements under the plan.

4.2 Trustee's Fees: Trustee's fees are governed by statute and orders entered by the Court and may change
     during the course of the case. The Trustee's fees are estimated to be           6      % of amounts disbursed by
     the Trustee under the plan and are estimated to total        $7,740.00      .
4.3 Debtor's Attorney's Fees. (Check one, below, as appropriate.)
             None, because I filed my case without the assistance of an attorney and am not represented by an
             attorney in this case. If “None” is checked, the rest of § 4.3 need not be completed or reproduced.
               Debtor's Attorney's Fees Requested or to be Requested, Paid Prior to Filing, and to be Paid
           ■
               through the Plan (and check one of the following, as appropriate).
                          ■
                               Except to the extent that a higher amount is allowed by the Court upon timely application, or a
                               lower amount is agreed to by the attorney, the Debtor's attorney has agreed to accept the
                               “standard base fee,” as described in Local Rule 2016-1(a)(2), for services reasonably
                               necessary to represent the Debtor before the Court through the earlier of confirmation of the
                               Debtor's plan or the first 12 months after this case was filed. The amount of compensation
                               requested does not exceed the allowable “standard base fee” as set forth in § 2016-1(a)(1) of
                                                                                                              $5,000.00
                               the Administrative Guide. The total amount of compensation requested is $____________,       of
                               which $_____________was
                                         $85.00              paid prior to filing. The Debtor's attorney requests that the
                               balance of $_____________be
                                              $4,915.00        paid through the plan.
                                                                            [OR]

                               The Debtor's attorney intends to apply or has applied to the Court for compensation for services
                               on a “time and expense” basis, as provided in Local Rule 2016-1(a)(7). The attorney estimates
                               that the total amount of compensation that will be sought is $                    , of which
                               was paid prior to filing. The Debtor's attorney requests that the estimated balance of
                               $______________be paid through the plan.

4.4 Domestic Support Obligations. (Check all that apply.)
           ■ None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
4.5 Other Priority Claims. (Check one.)

           ■   None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

Part 5:            Executory Contracts and Unexpired Leases
5.1 (Check one.)
                      ■       None. If “None” is checked, the rest of Part 5 need not be completed or reproduced .


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Part 6:            Co-Debtor and Other Specially Classified Unsecured Claims

6.1 (Check one.)

                         ■   None. If “None” is checked, the rest of Part 6 need not be completed or reproduced .


Part 7:            Unsecured Non-priority Claims

  7.1     General Treatment. After confirmation of a plan, holders of allowed, non-priority unsecured claims that are not
          specially classified in § 6.1, above, will receive a pro rata distribution with other holders of allowed, non-
          priority unsecured claims to the extent funds are available after payment to the holders of allowed secured,
          arrearage, unsecured priority, administrative, specially classified unsecured claims, and the Trustee's fees.
          Holders of allowed, non-priority unsecured claims may not receive any distribution until all claims of higher
          payment priority under the Bankruptcy Code have first been paid in full.


Part 8:            Miscellaneous Provisions

   8.1    Non-Disclosure of Personal Information: Pursuant to N.C. Gen. Stat. § 76-66 and other applicable state and
          federal laws, the Debtor objects to the disclosure of any personal information by any party, including without
          limitation, all creditors listed in the schedules filed in this case.
   8.2    Lien Retention: Holders of allowed secured claims shall retain the liens securing their secured claims to the
          extent provided by 11 U.S.C. § 1325(a)(5).
   8.3    Retention of Consumer Rights Causes of Action: Confirmation of this plan shall constitute a finding that the
          Debtor does not waive, release, or discharge, but rather retains and reserves, for the benefit of the Debtor and the
          chapter 13 estate, any and all pre-petition and post-petition claims the Debtor could or might assert against any
          party or entity arising under or otherwise related to any state or federal consumer statute, or under state or federal
          common law, including, but not limited to, claims related to fraud, misrepresentation, breach of contract, unfair
          and deceptive acts and practices, Retail Installment Sales Act violations, Truth in Lending violations, Home
          Equity Protection Act violations, Real Estate Settlement Procedures Act violations, Fair Debt Collection
          Practices Act violations, Fair Credit Reporting Act violations, Equal Credit Opportunity Act violations, Fair
          Credit Billing Act violations, Consumer Lending Act violations, Federal Garnishment Act violations, Electronic
          Funds Transfer Act violations, and any and all violations arising out of rights or claims provided for under Title
          11 of the United States Code, by the Federal Rules of Bankruptcy Procedure, or by the Local Rules of the
          Bankruptcy Court for the Eastern District of North Carolina.
   8.4    Vesting of Property of the Bankruptcy Estate:
          (Check one.)
          Property of the estate will vest in the Debtor upon:
            ■    plan confirmation.
                 discharge.

                other:




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   8.5    Possession and Use of Property of the Bankruptcy Estate: Except as otherwise provided or ordered by the
          Court, regardless of when property of the estate vests in the Debtor, property not surrendered or delivered to the
          Trustee (such as payments made to the Trustee under the Plan) shall remain in the possession and control of the
          Debtor, and the Trustee shall have no liability arising out of, from, or related to such property
          or its retention or use by the Debtor. The Debtor's use of property remains subject to the requirements of 11
          U.S.C. § 363, all other provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

   8.6    Creditor Notices When Debtor to Make Direct Payments: Subject to Local Rule 4001-2, secured creditors,
          lessors, and parties to executory contracts that will be paid directly by the Debtor may, but are not required to,
          send standard payment notices to the Debtor without violating the automatic stay.
   8.7    Rights of the Debtor and Trustee to Avoid Liens and Recover Transfers: Confirmation of the plan shall not
          prejudice any rights the Trustee or Debtor may have to bring actions to avoid liens, or to avoid and recover
          transfers, under applicable law.

   8.8 Rights of the Debtor and Trustee to Object to Claims: Confirmation of the plan shall not prejudice the right of
          the Debtor or Trustee to object to any claim.

   8.9    Discharge: Subject to the requirements, conditions, and limitations set forth in 11 U.S.C. § 1328, and unless the
          Court approves a written Waiver of Discharge executed by the Debtor, the Court shall, as soon as practicable after
          completion by the Debtor of all payments under the plan, grant the Debtor a discharge of all debts that are
          provided for by the plan or that are disallowed under 11 U.S.C. § 502.



Part 9:            Nonstandard Plan Provisions

9.1 Check “None” or List Nonstandard Plan Provisions.


      ■   None. If “None” is checked, the rest of Part 9 need not be completed or reproduced .




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Part 10:          Signatures

10.1 Signatures of Debtor(s) and Debtor(s)' Attorney

 If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional.
 The attorney for the Debtor(s), if any, must sign below.




   /s/Charlie Jacob Sammis                                                  7/2/18

     Signature of Debtor 1                                             Executed on:         MM/DD/YYYY




     Signature of Debtor 2                                             Executed on:         MM/DD/YYYY




By signing and filing this document, the Debtor(s) certify that the wording and order of the provisions in this Chapter 13
plan are identical to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions included in Part 9.




  /s/Christian B. Felden                                                       7/2/18

Signature of Attorney for Debtor(s)                                     Date:      MM/DD/YYYY




  If this document is also signed and filed by an Attorney for Debtor(s), the Attorney also certifies, that the wording
  and order of the provisions in this Chapter 13 plan are identical to those contained in E.D.N.C. Local Form 113,
  other than any nonstandard provisions included in Part 9.




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 APPENDIX: Definitions.
 The following definitions are applicable to this Plan.
“AP Amt.”           The amount the Debtor proposes to pay per month as pre-confirmation “adequate protection” payments in accordance with 11
                    U.S.C. § 1326(a)(1)(C) and Local Rule 3070-1(c).

                    The Administrative Guide to Practice and Procedure, a supplement to the Local Rules, which facilitates changes in practice
“Administrative     and procedure before the Court without the necessity for revision to the Local Rules. The Administrative Guide may be found
Guide”              at the following Internet URL: http://www.nceb.uscourts.gov/sites/nceb/files/AdminGuide.pdf. As used herein, the term
                    refers to The Administrative Guide in effect as of the date of the filing of the debtor's petition.

                    The mandated length of a Debtor's plan. Debtors whose annual median income is above the
“Applicable         applicable state median income, must propose 60-month plans, and below median income debtors are not required to propose
Commitment          a repayment plan longer than 36 months. Either may propose a shorter plan only if the plan will repay 100% of all allowed
Period”             claims in full in less than the “applicable commitment period.” Below median income debtors may propose a plan longer than
                    36 months, but not longer than 60 months, if the Court finds cause to allow a plan longer than 36 months. See § 1.4, above.

“Arrears”           The total monetary amount necessary to cure all pre-petition defaults.
“Avoid”             The Debtor intends to avoid the lien of a creditor in accordance with 11 U.S.C. § 506(d) and In re
                    Kidd, 161 B.R. 769 (Bankr. E.D.N.C. 1993).
“Bankruptcy         The Federal Rules of Bankruptcy Procedure.
Rules”
                    The estimated amount of the creditor's claim against the Debtor. Absent a sustained objection to claim, the total
“Claim” or          amount listed by a creditor as being owed on its timely filed proof of claim shall control over any amount listed
“Claim Amount”      by the Debtor in this plan.
Collateral”         Description of the real property or personal property securing each secured creditors' claim.
“Conduit”           The regular monthly mortgage payment that is to be made by the Trustee when a mortgage claim is proposed or
                    required to be paid through the plan disbursements. (See Local Rule 3070-2). The number of monthly “conduit”
                    payments to be made by the Trustee will be equal to the number of monthly payments proposed under the plan.
“Court”             The United States Bankruptcy Court for the Eastern District of North Carolina.

                    The Debtor intends that the amount to be paid in satisfaction of a secured claim be determined by determining the
                    “value“ of the secured creditor's “collateral,” or what the “collateral” is worth, under 11 U.S.C. §506(a) [which the
                    Debtor asserts is the amount shown in § 3.3, under the chart column headed, “Value of Collateral”], and amortizing
“Cram Down”         and paying such “value” at the interest rate proposed in the chart column headed, “Int. (%),” over the life of the
                    Debtor's plan. Any remainder of the creditor's total “claim amount” is allowed and treated as an unsecured claim. See
                    §§ 1.1, 3.3, and 7.1.
“Cure”              Whether the Debtor intends to pay the amount in “arrears” on any claim. With respect to a mortgage claim secured by
                    the Debtor's principal residence, if the Debtor proposes a cure through a mortgage loan modification, such intention is
                    indicated in § 3.1. Otherwise, mortgage “arrears” will be cured through the chapter 13 plan disbursements unless the
                    Debtor indicates a different method to cure under § 3.1. With respect to other secured claims being paid directly by the
                    Debtor or an unexpired lease or executory contract that the Debtor proposes to assume, if the Debtor intends to cure
                    “arrears,” these “arrears” will be cured through the Trustee's disbursements under a confirmed chapter 13 plan unless
                    the Debtor indicates otherwise in § 3.2.
                    With respect to “arrears” owed on a Domestic Support Obligation [defined in 11 U.S.C. § 101(14A) and addressed in §
                    4.4, below], these “arrears” will be cured through the Trustee's disbursements under and by the end of the confirmed
                    plan.

                    The individual or the married couple who filed this bankruptcy case, whose name or names are
“Debtor”            found at the top of the first page of this chapter 13 plan. The term “Debtor” as used in this plan includes both debtors if
                    this case was filed by a married couple.
                    The Debtor proposes to make all post-petition payments on the obligation directly, after the timely
“Direct”
                    filing of a claim by or for the creditor. Disbursements to creditors secured by a lien on the Debtor's principal residence
                    are subject to the provisions of Local Rule 3070-2.




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                      The Local Rules of Practice and Procedure of the United States Bankruptcy Court for the Eastern
“Local Rules”
                      District of North Carolina, which may be found at the following Internet URL:
                      http://www.nceb.uscourts.gov/sites/nceb/files/local-rules.pdf.

                      The interest rate, if any, at which the Debtor proposes to amortize and pay a claim. In the case of
“Interest” or
                      an “arrearage” claim, unless the plan specifically provides otherwise, the Debtor proposes to pay 0% interest on the
“Int.”
                      portion of any claim that is in arrears.

                  If paid through the Trustee's disbursements under a confirmed chapter 13 plan, the estimated amount of the monthly
                  payment proposed to be made to the creditor. If used in reference to a Current Monthly Payment, the current monthly
“Monthly Payment”
                  installment payment due from the Debtor to the creditor under the contract between the parties, including escrow
or “Mo. Pmt.”
                  amount, if any. If used with reference to an obligation that the Debtor proposes to pay directly to a creditor, the amount
                  the Debtor shall continue paying each month pursuant to the contract between the Debtor and the creditor.

“Other”               The Debtor intends to make alternative or additional provisions regarding the proposed treatment of a claim, including
                      the intention of the Debtor to pursue a mortgage modification.
“Other Secured        Any claim owed by the Debtor that is secured by property other than the Debtor's principal residence.
Claims”
“§” or “§§”           This symbol refers to the numbered Section or Sections (if two are used) of the plan indicated next
                      to the symbol or symbols; the Section numbers are found to the left of the part of the plan to which they refer.
“Surrender” or        The Debtor intends to surrender the “Collateral” to the secured creditor(s) upon confirmation of the plan. Surrender of
“Surr.”               residential real property is addressed in § 3.1, and surrender of other “Collateral” is addressed in § 3.6.
“Trustee”             The chapter 13 standing trustee appointed by the Court to administer the Debtor's case.
                      What the Debtor asserts is the market value of a secured creditor's “collateral,” as determined
“Value”               under 11 U.S.C. § 506(a), and, therefore, the principal amount that must be amortized at the interest rate proposed and paid in
                      full over the life of the Debtor's plan to satisfy in full the secured portion of a creditor's claim, consistent with the
                      requirements of 11 U.S.C. §§1325(a)(5) and 1328.




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                                             UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF NORTH CAROLINA
                                                    WILMINGTON DIVISION
Fill in this information to identify your case:
Fill in this information to identify your case:

                Charlie Jacob Sammis
  Debtor 1: __________________________________________________ Case Number (if known):
                     First Name         Middle Name        Last Name
  Debtor 2:__________________________________________________ _________________________________
   (Spouse, if filing) First Name       Middle Name        Last Name




      LIQUIDATION WORKSHEET & PLAN SUMMARY -- FILED WITH CHAPTER 13 PLAN

I. LIQUIDATION TEST

The information included in this worksheet shows how the Debtor determined, based on information known to the
debtor at the time the Debtor's chapter 13 petition was filed, the amount found in § 1.5 of the Debtor's plan that the
Debtor projects would be paid to holders of allowed unsecured claims if the Debtor's bankruptcy estate were liquidated
in a chapter 7 bankruptcy case. Under 11 U.S.C. §1325(a), the Bankruptcy Court must determine that at least this
amount will be available for distribution to the holders of unsecured claims in this case for the Debtor's plan to be
confirmed.
                                                            Liquidation                                 Net                              Exemption
                                           Market                                   Lien(s)                             Debtor's                        Liquidation
          Asset Description                                 Costs (if any)                             Value                              Claimed
                                           Value                                                                        Interest                           Value

   Clothing and Household Goods        $4,050.00          $0.00               $0.00                $4,050.00          $4,050.00          $4,050.00       $0.00

(Insert additional lines as needed.)


                                                                                    TOTAL Excess Equity in all Property: $0.00

                                                                                                    Subtract Attorney's Fees: - $4,915.00

                                    Subtract Other Liquidation Costs Not Included in Table Above (and describe below): $0.00

                                                             Subtract Chapter 7 Trustee's Commission (see chart below): - $1,250.00
                                                   TOTAL Required to be Paid to Holders of Allowed Unsecured Claims = $0.00



  Other Liquidation Costs Not Included in                                           Chapter 7 Trustee's Commission Table
   Table Above are described as follows:                                            per 11 U.S.C. §§ 326(a) and 1325(a)(4)

                                                                                                                                                     maximum $
                                                                             from                        to                       rate
                                                                                                                                                      amount
                                                                   $         ____      $     5,000.00                            25 %          $       1,250.00
                                                                   $          5,001.00 $    50,000.00                            10 %          $       4,500.00
                                                                   $        50,001.00 $ 1,000,0000.00                             5 %          $      47,500.00
                                                                   $    1,000,0000.00 $       no limit                            3 %          $        no limit




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II. Plan

A. Secured Claims

(1) Residential Mortgage Claims --Property Retained (Plan § 3.1):
                                                                                                             =
                                                                                        +
   Creditor                      Direct Amt./Mo      Conduit Amt./Mo Arrears Owed                            Tot. Arrears to       Cure $/Mo
                                                                                        Adm. Arrears
                                                                                                             Cure*

   First Mortgage Company LLC $0.00                   $1,176.61       $27,000.00        $0.00           $27,000.00       $450.00
   * Arrearage to be cured includes two full post-petition Mortgage Payments Pre-Petition Arrearage claim, per E.D.N.C. LBR 3070-2(a)(1)

   (2) Other Secured Claims -- Direct Payments by Debtor (Plan § 3.2):
   Creditor                          Collateral                          Direct Amt./Mo       Arrears Owed       Interest Cure $/Mo




(3) “Cram-Down” Claims Being Paid Through Plan (Plan § 3.3):
   Creditor                          Collateral                          Value                AP Payment         Interest Equal Mo. Pmt.




(4) Secured Claims not Subject to Cram-Down Being Paid through Plan (Plan § 3.4):
   Creditor                          Collateral                          Value                AP Payment         Interest Equal Mo. Pmt.

                                      2009 Mercedes
   Flagship Credit Acceptance                                            $12,200.00                              6.75         $317.69


(5) Secured Claims Subject to Lien Avoidance or Surrender of Collateral (Plan §§ 3.5 & 3.6):
   Creditor                          Collateral                      Claim Amt.         Surrendered?         Avoided?        Secured Amt.




(6) Secured Tax Claims
   Creditor                                                                                                                  Secured Amt.




 II. Executory Contracts and Unexpired Leases (Plan § 5.1)
                                                                           Assume or                                    Cure
              Lessor/Creditor                     Subject/Property                              Total Arrears                           Amt./Mo
                                                                            Reject                                      Term




   III. Unsecured Claims and Proposed Plan




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          Priority/Administrative (Plan Part 4)                           General Unsecured Claims (Plan Parts 1 & 2)

                 Creditor                      Amount     Liquidation Test Requires this be Paid to Unsecureds                  $0.00

Unpaid Attorney Fees                        $4,915.00     Debtor's Applicable Commitment Period in Months (“ACP”) is 36

IRS Taxes                                   $0.00         Debtor's Disposable Monthly Income (“DMI”) is:                        $0.00

State Taxes                                 $0.00
                                                          “ACP” times “DMI” equals Unsecured Pool of:                           $0.00
Personal Property Taxes                     $0.00
                                                          Total Estimated Unsecured Non-priority Claims equal                   $128,410.16
DSO/Alimony/Child Support Arrears           $0.00
                                                          Est. Approx. Dividend to Unsecureds (not guaranteed):                 $0.00
Total Est. Unsec. Priority Claims           $4,915.00




      Co-Sign Protect/Specially Classified Claims
                                                          PROPOSED CHAPTER 13 PLAN PAYMENT (PLAN PARTS 1 & 2)
                    (Plan Part 6)
                                       %
              Creditor                       Amount           The proposed Plan Payment Schedule is:
                                    Interest

                                                                     $2,150.00         per month for               60           months
                                                                          $0.00        per month for                            months

                                                                   Median Income:                            AMI             BMI



                                                                   Payroll Deduction                         YES             NO




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